Case 8:19-mc-00005-AG-DFM Document 29 Filed 10/22/18 Page 1 of 1 Page ID #:620




                      UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

                                    MOTION HEARING

 In re Banc of California Securities Litigation                COURT MINUTES
                                                               BEFORE: Kate Menendez
                                                                 U.S. Magistrate Judge

                                                      Case No:             18-mc-76-WMW-KMM
                                                      Date:                October 22, 2018
                                                      Location:            Courtroom 8E, Minneapolis
                                                      Digital Recording:   3:34 PM–4:39 PM
                                                      Time Commenced:      3:34 PM
                                                      Time Concluded:      4:39 PM
                                                      Time in Court:       1 hour, 5 minutes


 APPEARANCES:
   For Movants: Andrew Gray, Latham and Watkins, LLP and Bret Puls, Fox Rothschild, LLP

   For Respondents: Aaron Thomas and Jorden Weber, Briggs and Morgan

 HEARING ON:

        (1) Motion to Compel Compliance with Subpoenas, ECF No. 1.

 Oral argument was heard by the Court. A written order will follow.



                                                        s/Lisa Colburn
                                                        Signature of Law Clerk




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